
648 S.E.2d 846 (2007)
STATE of North Carolina
v.
Davon Jamar ANDERSON.
No. 151P07.
Supreme Court of North Carolina.
June 27, 2007.
Rudolph A. Ashton, III, Kirby H. Smith, III, New Bern, for Anderson.
Christopher W. Brooks, Assistant Attorney General, C. Colon Willoughby, Jr., District Attorney, for State of NC.

ORDER
Upon consideration of the petition filed on the 27th day of March 2007 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 27th day of June 2007."
